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                             UNITED STATES OF AMERICA
                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION




TIMOTHY J. RYAN, et al.,            )
                                    )
                  Plaintiffs,       )                 Case No. 1:03-cv-439
                                    )
v.                                  )                 Honorable David W. McKeague
                                    )
ADELE McGINN-LOOMIS, et al.,        )
                                    )                         ORDER
                  Defendants.       )
____________________________________)


               This matter came on for hearing on plaintiffs’ motion to compel the depositions of

Circuit Court Judges Patricia Gardner and Patrick Hillary and the depositions of judicial employees

Barbara Ingram and Beverly Fountain, as amended. (docket # 60). The subpoenaed parties, through

their counsel Thomas F. Koernke, have intervened to oppose the motion. The court conducted a

hearing on the motion on January 30, 2004. At the hearing, the court made oral findings, concluding

that the subpoenaed judges were entitled to invoke the deliberative process privilege to shield from

disclosure the mental processes used in formulating official judgments or the reasons that motivated

them in the performance of their judicial duties. The court further concluded that the respondent

judges and their staff were entitled to invoke the qualified judicial privilege, which protects advice

and other statements made in confidence to a judge by members of his or her staff. The court further

concluded that plaintiffs had borne the burden of demonstrating extraordinary circumstances to

justify questioning the subpoenaed parties concerning certain purely factual matters directly relevant

to the present case. To avoid any ethical problems arising under the Canon of Judicial Ethics, the
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depositions should be postponed until the state case, Ryan v. Ryan, case no. 01-09528-DZ, has been

finally dismissed. Accordingly, for the reasons set forth more fully on the record:

               IT IS ORDERED that plaintiffs’ motion to compel (docket # 60), as amended, be and

hereby is GRANTED IN PART AND DENIED IN PART as follows:

               A.     Plaintiffs shall be allowed to depose Judge Patricia Gardner on the

       following areas:

                      (1)     the relationship, if any, between Judge Gardner and

               her staff and Adele McGinn-Loomis;

                      (2)     the relationship, if any, between Judge Gardner and

               her staff and Mary Benedict;

                      (3)     the facts and circumstances surrounding all

               communications, oral or written, between Judge Gardner and her staff

               and Adele McGinn-Loomis or Mary Benedict with regard to the

               subject matter of Kent County Circuit Court case no. 01-09528-DZ,

               occurring before the formal docketing of said case on September 20,

               2001. Counsel may inquire concerning all statements made to or by

               the judge during such ex parte contacts but may not inquire

               concerning the judge’s reasons for any action taken or not taken.

               B.     Plaintiffs shall be allowed to depose Judge Patrick Hillary, limited to

       the following areas:

                      (1)     the facts and circumstances surrounding              all

               communications, oral or written, between Judge Hillary and Adele


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              McGinn-Loomis or Mary Benedict on September 19, 2001, with

              regard to the subject matter of Kent County Circuit Court case no. 01-

              09528-DZ. Counsel may inquire into all statements made to or by

              Judge Hillary during such communications, but may not inquire into

              his reasons for any action taken or not taken.

              C.      Plaintiffs may depose Ms. Ingram and Ms. Fountain concerning their

       involvement, if any, in the events alleged in the complaint, but may not inquire into

       their advice to Judge Gardner.

              IT IS FURTHER ORDERED that said judges and judicial staff shall not be required

to submit to deposition until Ryan v. Ryan, case no. 01-09528-DZ, has been remanded from the

Michigan Court of Appeals and dismissed by the Circuit Court.

              IT IS FURTHER ORDERED that Judge McKeague’s scheduling order for

supplemental briefing dated November 25, 2003, is modified as follows:

              1.      Discovery within the scope of Judge McKeague’s order shall conclude

       on March 15, 2004.

              2.      The parties shall file supplemental briefs in support of and in

       opposition to the pending motions to dismiss not later than April 16, 2004, and briefs

       in response thereto not later than April 26, 2004.

              3.      The continued hearing on the supplemented motions to dismiss is

       adjourned, to a date to be established by Judge McKeague’s office.




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The foregoing schedule is premised on the assumption that the Ryan v. Ryan case is dismissed during

the month of February 2004. If it is not dismissed during that month, counsel shall contact the court

to schedule a telephone conference for the purpose of resetting dates.



               DONE AND ORDERED this 30th day of January, 2004.


                                      /s/ Joseph G. Scoville
                                      United States Magistrate Judge




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